 Case: 1:17-cv-00073-JAR Doc. #: 99 Filed: 10/08/21 Page: 1 of 1 PageID #: 859


                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                  SOUTHEASTERN DIVISION

       WILLIAM T. COOPER, et al.,                )
                                                 )
                 Plaintiffs,                     )
                                                 )
                   v.                            )           Case No. 1:17-CV-00073-JAR
                                                 )
       CORY HUTCHESON, et al.,                   )
                                                 )
                 Defendants.                     )

                                   ORDER OF DISMISSAL

       This matter is before the Court on the parties’ Joint Stipulation of Dismissal of Complaint

Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). (Doc. 98). Plaintiffs and Defendant Securus

Technologies, Inc. (“Securus”) have agreed to dismiss this action with prejudice. Plaintiffs and

Defendant Cory Hutcheson have agreed to dismiss this action without prejudice. The Court will

order dismissal in accordance with the stipulation pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).


       Accordingly,

       IT IS HEREBY ORDERED that Plaintiffs’ claims against Defendant Securus are

DISMISSED with prejudice.

       IT IS FURTHER ORDERED that Plaintiffs’ claims against Defendant Cory Hutcheson

are DISMISSED without prejudice.


       Dated this 8th day of October, 2021.


                                                 ________________________________
                                                 JOHN A. ROSS
                                                 UNITED STATES DISTRICT JUDGE




                                                                                                  1
